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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


SETH DOE,

         Plaintiff,

v.                                                                 CIVIL ACTION NO.
                                                                     5:19-cv-320-TES
REYES 1, INC. d/b/a LITTLE CAESARS
PIZZA,

         Defendant.


ORDER DENYING MOTION FOR LEAVE TO PROCEED UNDER A PSEUDONYM



        Before the Court is Plaintiff’s Motion for Leave to Proceed Under a Pseudonym

[Doc. 3]. For the following reasons, the Court DENIES Plaintiff’s motion. Pursuant to

Federal Rule of Civil Procedure 10(a), a plaintiff must “include the names of all of the

parties” in the complaint. This rule is not merely about administrative convenience: “[i]t

protects the public’s legitimate interest in knowing all of the facts involved, including the

identities of the parties.” Doe v. Frank, 951 F.2d 320, 322 (11th Cir. 1992). Moreover, “First

Amendment guarantees are implicated when a court decides to restrict public scrutiny

of judicial proceedings.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Aug. 1981). 1




1“[T]he decisions of the United States Court of Appeals for the Fifth Circuit (the ‘former Fifth’ or the ‘old
Fifth’), as that court existed on September 30, 1981, handed down by that court prior to the close of business
on that date, shall be binding as precedent in the Eleventh Circuit, for this court, the district courts, and the
bankruptcy courts in the circuit.” Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981).
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Notwithstanding, a plaintiff may proceed anonymously under a pseudonym if “the

plaintiff has a substantial privacy right which outweighs the ‘customary and

constitutionally embedded presumption of openness in judicial proceedings.’” Frank, 951

F.2d at 323 (quoting Stegall, 653 F.2d at 186). Not just any plaintiff may proceed

anonymously, because only the “exceptional case” is sufficient to overcome the

aforementioned presumption. Frank, 951 F.2d at 323.

       In Stegall, the court determined the circumstances in which a plaintiff may proceed

anonymously and elicited three main factors, including: (1) plaintiffs challenging

governmental activity, (2) plaintiffs required to disclose information of the utmost

intimacy, and (3) plaintiffs compelled to admit their intention to engage in illegal conduct,

thereby risking criminal prosecution. 653 F.2d 185. These factors are not intended as a

“rigid, three-step test.” Id. Additionally, the presence of one factor is not meant to be

dispositive, because the factors were highlighted as each deserving consideration. Frank,

951 F.2d at 323. Consequently, a judge “should carefully review all the circumstances of

a given case and then decide whether the customary practice of disclosing the plaintiff’s

identity should yield to the plaintiff’s privacy concerns.” Id.

       Only the second factor could plausibly apply to the Plaintiff’s lawsuit. For the

second factor, whether Plaintiff would be compelled to disclose information “of the

utmost intimacy,” the threat of hostile public reaction to the lawsuit by itself is rarely

sufficient to warrant public anonymity. See Stegall, 653 F.2d at 186. Additionally, the fact



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that Plaintiff “may suffer some personal embarrassment, standing alone, does not require

the granting of his request to proceed under a pseudonym.” Frank, 951 F.2d at 324. In

conclusion, a “plaintiff should be permitted to proceed anonymously only in those

exceptional cases involving matters of a highly sensitive and personal nature, real danger

of physical harm, or where the injury litigated against would be incurred as a result of

the disclosure of the plaintiff’s identity.” Id. at 324.

       Here, Plaintiff alleges that “[a]s a result of Defendant’s actions, including the

unauthorized disclosure of his gender identity and transgender status, Plaintiff has

become concerned for his safety while in public.” [Doc. 3 at ¶ 2]. Plaintiff then proceeded

to allege that “individuals who are transgender or gender non-conforming experience

violence and assault at far higher rates than the general public.” [Id. at ¶ 3]. While this

may (or may not) be true on some global level or even in some particular region of our

country, Plaintiff’s counsel has introduced zero statistical evidence regarding violence

and assault among trans or gender non-conforming individuals compared to that of the

general public. Likewise, the Plaintiff offers nothing more than his bare speculation that

he may be more likely to be assaulted if the public knew he was transgender. This is

nothing more than speculation and certainly is not the type of particularized and specific

evidence necessary to invoke the rarely-granted exception to the rule requiring the

identities of all parties.

       Plaintiff cites to Doe v. Barrow County, 219 F.R.D. 189 (N.D. Ga. 2003), where a



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plaintiff was allowed to proceed anonymously in a case arising out of the display of the

Ten Commandments on public property. [Doc. 3 at ¶ 4]. The court in Barrow reviewed an

affidavit of a woman who stated she attended a meeting of the Barrow County Board of

Commissioners and was interrupted, told to “shut up and sit down,” and “[y]ou ain’t

welcome [here] no more.” Barrow, 219 F.R.D. at 193. Further, the woman’s affidavit

alleged that she feared for her safety due to the hostility of the room, and she spoke with

others after the meeting that said “they wanted to speak out in opposition of the display

but were too afraid to.” Id. Further, the court noted that at least one community member

made attempts to threaten several judges of that court by leaving inappropriate and

angry voicemails. Id. The court discussed how “religion is perhaps the quintessentially

private matter” and held that a plaintiff should be allowed to proceed anonymously in a

case against the government in these circumstances. Id. at 193–94. Those facts are a far cry

away from Plaintiff’s general claims of persons being concerned for their safety while in

public due to their transgender status.

       Accordingly, the Court finds that Plaintiff’s case is not one of those rare,

exceptional cases for the Court to allow a plaintiff to pursue a case anonymously. Thus,

the Court DENIES Plaintiff’s Motion for Leave to Proceed Under a Pseudonym. The

Plaintiff must either amend his complaint to disclose the true identity or dismiss it.

       SO ORDERED this 19th day of August, 2019.




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                                  s/ Tilman E. Self, III
                                  TILMAN E. SELF, III, JUDGE
                                  UNITED STATES DISTRICT COURT




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